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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                            SAVANNAH DIVISION


THE UNITED STATES OF AMERICA,                       )
                                                    )
                      Plaintiff,                    )
v.                                                  )       4:19-cr-124-2
                                                    )
ORONDA HAMILTON,                                    )
                                                    )
        Defendant.                                  )


                                           ORDER


       Counsel in the above-captioned case have advised the Court that all pretrial motions have

been complied with and/or that all matters raised in the parties’ motions have been resolved by

agreement. Therefore, a hearing in this case is deemed unnecessary. All motions filed on behalf

of the defendant, Orinda Hamilton, are dismissed.

               SO ORDERED, this 2th day of October 2019.




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                                                    OPHER
                                                      PH
                                                      PH   L. RAY
                                             UNITED STATE
                                                     STATES  MAGISTRATE JUDGE
                                                          ES MAGISTRAT
                                             SOUTHERN DISTRICT OF GEORGIA
